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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   CENTRAL DIVISION

KRISHONN COONEY                                             PLAINTIFF
ADC #107617

v.                      No. 4:21-cv-717-DPM

STATE OF ARKANSAS; TAYLOR
DOOBIE, Officer, Morrilton Police
Department; NATHAN WATKINS,
Officer, Morrilton Police Department;
and WILLCUT, Detective                                 DEFENDANTS

                                ORDER
     Motion for status, Doc. 15, granted. The case was put on hold until
state criminal charges against Cooney are resolved. Doc. 14. Cooney
must notify the Court when that happens. Cooney' s change of address,
Doc. 16, noted.    The Court directs the Clerk to mail a copy of the
8 September 2021 Order, Doc. 14, and a copy of the docket sheet to
Cooney' s updated address.
     So Ordered.




                                 D .P. Marshall Jr.
                                 United States District Judge
